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 1   ROBERT E. ATKINSON
     CHAPTER 7 BANKRUPTCY TRUSTEE
 2
     376 E. Warm Springs Rd Suite 130
 3   Las Vegas, NV 89119
     Telephone: (702) 617-3200
 4   Email: Robert@ch7.vegas
 5
                             UNITED STATES BANKRUPTCY COURT
 6                              FOR THE DISTRICT OF NEVADA

 7   In re:                                                  Case No. 21-14486-abl
                                                             Chapter 7
 8
     INFINITY CAPITAL MANAGEMENT, INC.
 9   dba INFINITY HEALTH CONNECTIONS,                        EX PARTE APPLICATION TO
                                                             EMPLOY PAUL M. HEALEY &
10                    Debtor.                                SONS CPAs LTD. AS
                                                             ACCOUNTANT
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12
              Chapter 7 trustee ROBERT E. ATKINSON (“Trustee”) hereby moves for the Court for
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     an order authorizing the employment of Paul M. Healey & Sons CPAs Ltd. (“Healey Firm”) as
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     accountant for the Bankruptcy Estate. The services of an accountant are necessary to enable the
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     Trustee to faithfully execute his duties.
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              1.    The administration of this case will involve determination of tax issues and
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     preparation of federal income tax returns for the estate, and the employment of an accountant
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     for these actions are necessary.
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              2.    The Trustee seeks to employ the Healey Firm as a professional pursuant to 11
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     U.S.C. § 327(a), Fed. R. Bankr. P. 2014, and LR 2014.
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              3.    The Trustee selected the Healey Firm because it employs certified public
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     accountants licensed in the State of Nevada and is experienced in preparing bankruptcy tax
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     returns.
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              4.    Per the supporting Declaration of Michael Healey filed contemporaneously
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     herewith (“Declaration”):
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                           The Healey Firm does not hold an interest adverse to this bankruptcy
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                            estate;
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 1                         The Healey Firm is disinterested within the meaning of Section 101(14)
                            of the Bankruptcy Code; and
 2

 3                         The Healey Firm does not have any connection with the Debtor, the
                            creditors, any other party in interest, their respective attorneys and
 4                          accountants, the United States Trustee, or any person employed in the
                            office of the United States Trustee.
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 6          5.      The proposed hourly rates for the professionals employed by the Healey Firm

 7   are included in the Declaration.

 8          6.      Pursuant to 28 U.S.C. § 586(a)(3)(I) and the Trustee Handbook, the Office of

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     the United States Trustee was provided a copy of this Application and given an opportunity to

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     comment prior to upload of the proposed order. No comment or objection was provided.

11                                             ######
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            WHEREFORE, the Trustee requests this court to enter an order authorizing him to
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     employ the Healey Firm pursuant to 11 U.S.C. § 327(a) to act as accountant for the estate,
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     and that the firm’s hourly rates be deemed reasonable in accordance with 11 U.S.C. § 328.
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16                                            # # # # #

17   DATED: March 14, 2022                           /s/ Robert E. Atkinson
                                                  ROBERT E. ATKINSON
18                                                CHAPTER 7 BANKRUPTCY TRUSTEE
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